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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled DECLARATION OF CHAPTER 7 TRUSTEE, ROBERT S.
WHITMORE IN SUPPORT OF MARSHACK HAYS WOOD LLP’S SECOND AND FINAL FEE APPLICATION FOR
ALLOWANCE OF FEES AND COSTS will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
March 20, 2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On March 20, 2024, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR
 MCKENNA GENERAL ENGINEERING, INC.
 ATTN: OFFICER, A MANAGING OR GENERAL AGENT,
 OR TO ANY OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO RECEIVE SERVICE
 20330 TEMESCAL CANYON RD
 CORONA, CA 92881
                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on March 20, 2024, I served the following persons and/or entities by personal
delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

VIA OVERNIGHT MAIL
PRESIDING JUDGE’S COPY
HONORABLE SCOTT H. YUN
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
3420 TWELFTH STREET, SUITE 345 / COURTROOM 302
RIVERSIDE, CA 92501-3819
                                                      Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  March 20, 2024                            Chanel Mendoza                                       /s/ Chanel Mendoza
  Date                                      Printed Name                                         Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued:
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     INTERESTED PARTY COURTESY NEF: Noreen A Madoyan Noreen.Madoyan@usdoj.gov
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     U.S. TRUSTEE (RS): United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
     TRUSTEE ROBERT WHITMORE (TR): Robert Whitmore (TR) rswtrustee@yahoo.com,
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4893-9276-2243, v. 1

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